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FILED IN DISTRICT coURT
OKLAHOMA coner
iiv inn msch COURT oF OKLAHOMA COUNTY

STATE-OF OKLAHOMA MAR ~S 2813

TIM RHODES

GlNA KANELOPOULOS and GEORGE J.
COURT CLERK

KANELOPOULOS, J'R,,

 

Plajntiff`,

Case No.: cJ-zoio»'!z&s)

Cl -20l3“l4 70

V.

ALLSTATE INSURANCE COMPANY
A,nd COLUN_{BIA CASUAL'I`Y COM`_PANY,
A CNA lNSURANCE COMPA_NY,

Defendant_
PETITION
COME NOW the Plaintiffs, G:ina Kanelopoiilos and Geoi'ge .'I. Kanelopoulos, Jr., and for
their causes of action against die Defendants, Allstaie Insuranee Conipany and Colurnbia
Casnalty Coinpany, a CNA lnsuranee company (liereinei‘cei“ referred to as “CNA”); allege and
State as follows:
PLANI"£FIS= FI:RS'I‘ <:AUSE OF ACTIoN
1. me on or aboui me 9tzl day cr Sepiember, the Piaimie, dana Kaneiepouios was
lawfully stopped facing westboimd al the intersection of Nortliwest 39th Expressway end
Ki.lpani`ck turnpike in Oklal.ioina Coiiiit'y, Oldalioina, when Adan G. Gonzalez, an uninsured
motorist7 did negligently drive his vehicle into the rear of the Pla.iniiH’s ve§iicle which directly
caused the PlaintifT-personal and bodily injuries. -
2. 'l"he Defeiidants, Allstate bisilranee Company and CNA are Plaintijfs` uninsured
motorist Ca.iiier and are licensed to conduct business in Oklaliorna.
3. Tliis com lies jin~isdiet:ion over the parties and subject matter
` 4 f Ad_an G. Genza§ez.,, was negligent in \follevving`,too clo§ely, failing to devote full
nine end attention to his drivingd traveling at an excessive rare of speed, driving under the

influence of alcohol, driving in a reckless mennei'“, driving Witliout a lawful license, failing to use

EXH!B¥T

 

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the means at hand such as brakes and)'or steering mechanism to avoid colliding with the
Plaintift"’s vehicle, and failing to exercise reasonable care While operating a motor vehicle, all in
violation of Olrlahorna Cotnnion Lavv, Statiites and/or Olrlalioina City Ordinances.

5. Adan G. Gonzalez was negligent per se in driving in a reckless manner in
violation of Oklahonia Stanite (47 O.S. 11-901} and Olrlahoina City Municipal Code (32~9) and
failing to devote full time attention in violation of Oklahotna Statnte (47 O.S. ll-90lb) and
Ols'lahonia City Mnnicipal Code (32-10), thereby causing a collision with the Plaintift" s vehicle

6. Adan G. Gonzalez operated his vehicle in a reckless manner While under the
influence of alcohol Siich conduct is wanton, reckless and in careless disregard for the safety of
the Plainti&`, thereby entitling the PlaintiiiC to punitive damages

7. Thai as a direct result of the negligence of Adan G. Gonzalez, the Piaintiffs
suffered property damage, and the loss of use of their vveh_icle, Gina Kaneloponlos sustained
bodily injuries Which are permanent in natore, has incurred medical bills for the treatment of said
bodily injinies, and farther sustained pain and suffering which Will continue into the fcrtnre,
thereby entitling her to judgment against Adan G. Gonzalez in an amount in excess of
$75,000.00.

8. That as a Grect result of the negligence of Adan G. Gonzalez, the Plaintiti
George l. Kanelopoulos, has incurred medical bills for the treatment of his wife’s injiiries, and
has farther suffered the loss of love, services and consortium of his Wife as a result of the injinies
suffered by her in this automobile collision entiding hiin to judgment against Adan G. Gonzalez
in an amount in excess of$?E,OO0.00.

PLAHWTIFFS’ SECGND CAUSE OF ACTION

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l. At the time of this collision the tortfeasor, Adan G, Gonzalez had no liability
insurance coverage and is therefore an uninsured motorist

2. At all relevant times, The Plainti§"s were insured with Defendant, A]lstate lnsurance
Company under policy number 0}0927?40 which carries Um`nsured and Underi_nsined Motorist
Coverage in the amount of $250,000/$500,000, and Was in full force and effect at the time the
subject collision occurred

3. st en relevant ames the naming were agreed vein oefeedeat, cNA under
policy number 167043994, Wbich carries Uninsured and Underinsured Motorist Coverage in the
amount of $l,OOU,OO{).OO and was in full force and eifect at the time the subject collision
occurred

4. Plaintiflis damages excueed the amount of insurance available under the policies of
insurance covering Adan G. Gonzalez, therefore entitling Plaintiffs to recover d
uninsured/imderinsm~ed motorist benefits from Allstate instn~ance Company and CNA under said
policies

5. As a direct result of the negligence of Adan G. Gonzalez, an uninsured motorist,
Plaintifts are entitled to uninsured motorist coverage pursuant to the terms of the policies of
insurance they purchased from Defendants. Plaintiffs have su:l:`fered financial hardship, actual
and economic damages, and associated pain and suifering entitling them to judgment in an
amount in excess of $75,000.0{).

W]:IEREFORE Plaintiifs, Gina Kanelopoulos and George l. Kanelopoulos, lr. pray for
judgment again$§efendants, Allstate lnsin'ance Company and Colurnbia Casualty Company, a
CNA lnsurance company in an amount in excess of $75,000.00, along With costs7 interest

allowed by la'w, attornest fees,._and any r"ln'ther relief to Which they may be entitled

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JURY TRIAL DEMAN])ED

ATTORNEY’S LIEN CLA]`_MEI)

Respectfully submitted,

 
   
   

    

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POS'I` J'UDGI\CENT MERESHD CLAIMED

